 22-10965-mg      Doc 2     Filed 07/13/22 Entered 07/13/22 23:13:53       Main Document
                                         Pg 1 of 15


Joshua A. Sussberg, P.C.                     Patrick J. Nash, Jr., P.C. (pro hac vice pending)
KIRKLAND & ELLIS LLP                         Ross M. Kwasteniet, P.C. (pro hac vice pending)
KIRKLAND & ELLIS INTERNATIONAL LLP           KIRKLAND & ELLIS LLP
601 Lexington Avenue                         KIRKLAND & ELLIS INTERNATIONAL LLP
New York, New York 10022                     300 North LaSalle Street
Telephone:     (212) 446-4800                Chicago, Illinois 60654
Facsimile:     (212) 446-4900                Telephone:       (312) 862-2000
                                             Facsimile:       (312) 862-2200

Proposed Counsel to the Debtors and
Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                    )
In re:                                              )   Chapter 11
                                                    )
CELSIUS NETWORK LLC, et al.,                        )   Case No. 22-10964 (___)
                                                    )
                      Debtor.                       )
                                                    )
Tax I.D. No. XX-XXXXXXX                             )
                                                    )
In re:                                              )
                                                    )   Chapter 11
CELSIUS KEYFI LLC,                                  )
                                                    )   Case No. 22-10967 (___)
                      Debtor.                       )
                                                    )
Tax I.D. No. XX-XXXXXXX                             )
                                                    )
In re:                                              )   Chapter 11
                                                    )
CELSIUS LENDING LLC,                                )   Case No. 22-10970 (___)
                                                    )
                      Debtor.                       )
                                                    )
Tax I.D. No. XX-XXXXXXX                             )
                                                    )
 22-10965-mg    Doc 2     Filed 07/13/22 Entered 07/13/22 23:13:53    Main Document
                                       Pg 2 of 15




                                                  )
In re:                                            )   Chapter 11
                                                  )
CELSIUS MINING LLC,                               )   Case No. 22-10968 (___)
                                                  )
                    Debtor.                       )
                                                  )
Tax I.D. No. XX-XXXXXXX                           )
                                                  )
In re:                                            )   Chapter 11
                                                  )
CELSIUS NETWORK INC.,                             )   Case No. 22-10965 (___)
                                                  )
                    Debtor.                       )
                                                  )
Tax I.D. No. XX-XXXXXXX                           )
                                                  )
In re:                                            )   Chapter 11
                                                  )
CELSIUS NETWORK LIMITED,                          )   Case No. 22-10966 (___)
                                                  )
                    Debtor.                       )
                                                  )
Tax I.D. No. XX-XXXXXXX                           )
                                                  )
In re:                                            )   Chapter 11
                                                  )
CELSIUS NETWORKS LENDING LLC                      )   Case No. 22-10969 (___)
                                                  )
                    Debtor.                       )
                                                  )
Tax I.D. No. XX-XXXXXXX                           )
                                                  )
In re:                                            )   Chapter 11
                                                  )
CELSIUS US HOLDING LLC,                           )   Case No. 22-10971 (___)
                                                  )
                    Debtor.                       )
                                                  )
Tax I.D. No. XX-XXXXXXX                           )




                                          2
    22-10965-mg        Doc 2      Filed 07/13/22 Entered 07/13/22 23:13:53                      Main Document
                                               Pg 3 of 15



                  DEBTORS’ MOTION SEEKING ENTRY OF AN ORDER
                   (I) DIRECTING JOINT ADMINISTRATION OF THE
                CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF

           The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state as follows in support of this motion (this “Motion”):

                                                Relief Requested

        1.        The Debtors seek entry of an order, substantially in the form attached hereto as

Exhibit A (the “Order”), (a) directing procedural consolidation and joint administration of these

chapter 11 cases, and (b) granting related relief. The Debtors request that the Court (as defined

herein) maintain one file and one docket for all of the jointly administered cases under the case of

Celsius Network LLC, and that the cases be administered under a consolidated caption, as

follows:

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                )
In re:                                          )   Chapter 11
                                                )
CELSIUS NETWORK LLC, et al.,1                   )   Case No. 22-10964 (___)
                                                )
                              Debtors.          )   (Joint Administration Requested)
                                                )
___________________________________________________
1    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius
     Mining LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius Networks Lending
     LLC (3390); and Celsius US Holding LLC (7956). The location of Debtor Celsius Network LLC’s principal
     place of business and the Debtors’ service address in these chapter 11 cases is 121 River Street, PH05,
     Hoboken, New Jersey 07030.



1    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius
     Mining LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius Networks Lending
     LLC (3390); and Celsius US Holding LLC (7956). The location of Debtor Celsius Network LLC’s principal
     place of business and the Debtors’ service address in these chapter 11 cases is 121 River Street, PH05,
     Hoboken, New Jersey 07030.


                                                          3
 22-10965-mg       Doc 2    Filed 07/13/22 Entered 07/13/22 23:13:53            Main Document
                                         Pg 4 of 15



       2.      The Debtors further request that the Court order that the foregoing caption

satisfies the requirements set forth in section 342(c)(1) of the Bankruptcy Code (as defined

below).

       3.      The Debtors also request that a docket entry, substantially similar to the

following, be entered on the docket of each of the Debtors’ cases other than Celsius Network

LLC to reflect the joint administration of these chapter 11 cases:

               An order has been entered in accordance with Rule 1015(b) of the
               Federal Rules of Bankruptcy Procedure directing joint
               administration of the chapter 11 cases of: Celsius Network LLC,
               Case No. 22-10964 (___); Celsius KeyFi LLC, Case No. 22-10967
               (___); Celsius Lending LLC, Case No. 22-10970 (___); Celsius
               Mining LLC, Case No. 22-10968 (___); Celsius Network Inc.,
               Case No. 22-10965 (___); Celsius Network Limited, Case
               No. 22-10966 (___); Celsius Networks Lending LLC, Case
               No. 22-10969 (___); and Celsius US Holding LLC, Case
               No. 22-10971 (___). All further pleadings and other papers
               shall be filed in and all further docket entries shall be made in
               Case No. 22-10964 (___).

       4.      The Debtors also seek authority to fulfill the monthly operating report

requirements required by the Operating Guidelines and Reporting Requirements for Debtors in

Possession and Trustees, issued by the United States Trustee for the Southern District of New

York (the “U.S. Trustee”), in accordance with the applicable Instructions for UST

Form 11-MOR: Monthly Operating Report.

                                     Jurisdiction and Venue

       5.      The United States Bankruptcy Court for the Southern District of New York

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the Southern

District of New York, entered February 1, 2012. The Debtors confirm their consent to the Court

entering a final order in connection with this Motion to the extent that it is later determined that


                                                 4
 22-10965-mg       Doc 2    Filed 07/13/22 Entered 07/13/22 23:13:53            Main Document
                                         Pg 5 of 15



the Court, absent consent of the parties, cannot enter final orders or judgments in connection

herewith consistent with Article III of the United States Constitution.

       6.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       7.      The statutory bases for the relief requested herein are sections 105(a) and

342(c)(1) of title 11 of the United States Code (the “Bankruptcy Code”), rules 1015(b) and 2002

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rule 9013-1(a) of

the Local Bankruptcy Rules for the Southern District of New York (the “Local Rules”).

                                           Background

       8.      The Debtors, together with their non-Debtor affiliates (collectively, “Celsius”),

are one of the largest and most sophisticated cryptocurrency based finance platforms in the world

and provide financial services to institutional, corporate, and retail clients across more than 100

countries. Celsius was created in 2017 to be the first cryptocurrency platform to which users

could transfer their crypto assets and (a) earn rewards on crypto assets and/or (b) take loans using

those transferred crypto assets as collateral. Headquartered in Hoboken, New Jersey, Celsius

employs a global workforce of 648 employees and has an active user base with over 1.7 million

users worldwide.

       9.      On July 13, 2022 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code. A detailed description of the facts

and circumstances of these chapter 11 cases is set forth in the Declaration of Alex Mashinsky,

Chief Executive Officer of Celsius Network LLC, in Support of Chapter 11 Petitions and First

Day Motions (the “Mashinsky Declaration”) and the Declaration of Robert Campagna,

Managing Director of Alvarez & Marsal North America, LLC, in Support of Chapter 11

Petitions and First Day Motions (the “Campagna Declaration”), both filed contemporaneously



                                                 5
    22-10965-mg      Doc 2      Filed 07/13/22 Entered 07/13/22 23:13:53                  Main Document
                                             Pg 6 of 15



with this Motion and incorporated by reference herein.2 As described in more detail in the

Mashinsky Declaration, the Debtors commenced these chapter 11 cases to provide Celsius an

opportunity to stabilize its business and consummate a comprehensive restructuring transaction

that maximizes value for stakeholders.

         10.     The Debtors are operating their business and managing their property as debtors

in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. Concurrent with

the filing of this Motion, the Debtors have also filed a motion requesting procedural

consolidation and joint administration of these chapter 11 cases pursuant to Bankruptcy Rule

1015(b). No request for the appointment of a trustee or examiner has been made in these

chapter 11 cases and no official committees have been appointed or designated.

                                              Basis for Relief

         11.     Bankruptcy Rule 1015(b) provides, in pertinent part, that “[i]f . . . two or more

petitions are pending in the same court by or against . . . a debtor and an affiliate, the court may

order a joint administration of the estates.” Fed. R. Bankr. P. 1015. The eight Debtor entities

that commenced chapter 11 cases are “affiliates” as that term is defined in section 101(2) of the

Bankruptcy Code. Accordingly, the Bankruptcy Code and Bankruptcy Rules authorize the Court

to grant the relief requested herein.

         12.     Section 105(a) of the Bankruptcy Code provides the Court with the power to grant

the relief requested herein by permitting the Court to “issue any order, process, or judgment that

is necessary or appropriate to carry out the provisions of the [Bankruptcy Code].”

11 U.S.C. § 105(a).



2    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
     Mashinsky Declaration or the Campagna Declaration (together, the “First Day Declarations”), as applicable.


                                                       6
    22-10965-mg       Doc 2      Filed 07/13/22 Entered 07/13/22 23:13:53                     Main Document
                                              Pg 7 of 15



         13.      Joint administration is generally non-controversial, and courts in this jurisdiction

routinely order joint administration in cases with multiple related debtors. See, e.g., In re

Voyager, No. 22-10943 (MEW) (Bankr. S.D.N.Y. July 6, 2022) (directing joint administration of

chapter 11 cases); In re Revlon, Inc., No. 22-10760 (DSJ) (Bankr. S.D.N.Y. June 16, 2022)

(same); In re GTT Commc’ns, Inc., No. 21-11880 (MEW) (Bankr. S.D.N.Y. Nov. 1, 2021)

(same); In re Grupo Posadas S.A.B. de C.V., No. 21-11831 (SHL) (Bankr. S.D.N.Y. Oct. 27,

2021) (same); In re Lakeland Tours, LLC, 20-11647 (JLG) (Bankr. S.D.N.Y. July 27, 2020)

(same); In re Jason Indus., Inc., No. 20-22766 (RDD) (Bankr. S.D.N.Y. June 29, 2020) (same).3

         14.      Given the integrated nature of the Debtors’ operations, joint administration of

these chapter 11 cases will provide significant administrative convenience without harming the

substantive rights of any party in interest. Many of the motions, hearings, and orders in these

chapter 11 cases will affect each Debtor entity.                  The entry of the Order directing joint

administration of these chapter 11 cases will reduce fees and costs by avoiding duplicative filings

and objections. Joint administration will also allow the United States Trustee for the Southern

District of New York (the “U.S. Trustee”) and all parties in interest to monitor these chapter 11

cases with greater ease and efficiency.

         15.      Moreover, joint administration will not adversely affect the Debtors’ respective

constituencies because this Motion seeks only administrative, not substantive, consolidation of

the Debtors’ estates. Parties in interest will not be harmed by the relief requested; instead,

parties in interest will benefit from the cost reductions associated with the joint administration of

these chapter 11 cases. Accordingly, the Debtors submit that the joint administration of these



3    Because of the voluminous nature of the orders cited herein, such orders have not been attached to this Motion.
     Copies of these orders are available upon request to the Debtors’ proposed counsel.


                                                         7
 22-10965-mg       Doc 2     Filed 07/13/22 Entered 07/13/22 23:13:53              Main Document
                                          Pg 8 of 15



chapter 11 cases is in the best interests of their estates, their creditors, and all other parties in

interest.

                                          Motion Practice

        16.    This Motion includes citations to the applicable rules and statutory authorities

upon which the relief requested herein is predicated and a discussion of their application to this

Motion. Accordingly, the Debtors submit that this Motion satisfies Local Rule 9013-1(a).

                                               Notice

        17.    The Debtors will provide notice of this Motion to the following parties or their

respective counsel: (a) the U.S. Trustee; (b) the holders of the 50 largest unsecured claims

against the Debtors (on a consolidated basis); (c) the United States Attorney’s Office for the

Southern District of New York; (d) the Internal Revenue Service; (e) the offices of the attorneys

general in the states in which the Debtors operate; (f) the Securities and Exchange Commission;

and (g) any party that has requested notice pursuant to Bankruptcy Rule 2002.            The Debtors

submit that, in light of the nature of the relief requested, no other or further notice need be given.

                                         No Prior Request

        18.    No prior request for the relief sought in this Motion has been made to this or any

other court.


                            [Remainder of page intentionally left blank]




                                                  8
  22-10965-mg      Doc 2    Filed 07/13/22 Entered 07/13/22 23:13:53              Main Document
                                         Pg 9 of 15



        WHEREFORE, the Debtors respectfully request that the Court enter the Order

 substantially in the form attached hereto as Exhibit A, (a) granting the relief requested herein

 and (b) granting such other relief as the Court deems appropriate under the circumstances.

New York, New York                               /s/ Joshua A. Sussberg
Dated: July 13, 2022                             KIRKLAND & ELLIS LLP
                                                 KIRKLAND & ELLIS INTERNATIONAL LLP
                                                 Joshua A. Sussberg, P.C.
                                                 601 Lexington Avenue
                                                 New York, New York 10022
                                                 Telephone:      (212) 446-4800
                                                 Facsimile:      (212) 446-4900
                                                 Email:          jsussberg@kirkland.com

                                                  - and -

                                                 Patrick J. Nash, Jr., P.C. (pro hac vice pending)
                                                 Ross M. Kwasteniet, P.C. (pro hac vice pending)
                                                 300 North LaSalle Street
                                                 Chicago, Illinois 60654
                                                 Telephone:       (312) 862-2000
                                                 Facsimile:       (312) 862-2200
                                                 Email:           patrick.nash@kirkland.com
                                                                  ross.kwasteniet@kirkland.com

                                                 Proposed Counsel to the Debtors and Debtors in
                                                 Possession
22-10965-mg   Doc 2   Filed 07/13/22 Entered 07/13/22 23:13:53   Main Document
                                   Pg 10 of 15



                                  Exhibit A

                                Proposed Order
 22-10965-mg    Doc 2     Filed 07/13/22 Entered 07/13/22 23:13:53    Main Document
                                       Pg 11 of 15




UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                  )
In re:                                            )   Chapter 11
                                                  )
CELSIUS NETWORK LLC, et al.,                      )   Case No. 22-10964 (___)
                                                  )
                    Debtor.                       )
                                                  )
Tax I.D. No. XX-XXXXXXX                           )
                                                  )
In re:                                            )
                                                  )   Chapter 11
CELSIUS KEYFI LLC,                                )
                                                  )   Case No. 22-10967 (___)
                    Debtor.                       )
                                                  )
Tax I.D. No. XX-XXXXXXX                           )
                                                  )
In re:                                            )   Chapter 11
                                                  )
CELSIUS LENDING LLC,                              )   Case No. 22-10970 (___)
                                                  )
                    Debtor.                       )
                                                  )
Tax I.D. No. XX-XXXXXXX                           )
                                                  )
                                                  )
In re:                                            )   Chapter 11
                                                  )
CELSIUS MINING LLC,                               )   Case No. 22-10968 (___)
                                                  )
                    Debtor.                       )
                                                  )
Tax I.D. No. XX-XXXXXXX                           )
                                                  )
In re:                                            )   Chapter 11
                                                  )
CELSIUS NETWORK INC.,                             )   Case No. 22-10965 (___)
                                                  )
                    Debtor.                       )
                                                  )
Tax I.D. No. XX-XXXXXXX                           )
    22-10965-mg       Doc 2      Filed 07/13/22 Entered 07/13/22 23:13:53                     Main Document
                                              Pg 12 of 15



                                                                    )
In re:                                                              )   Chapter 11
                                                                    )
CELSIUS NETWORK LIMITED,                                            )   Case No. 22-10966 (___)
                                                                    )
                           Debtor.                                  )
                                                                    )
Tax I.D. No. XX-XXXXXXX                                             )
                                                                    )
In re:                                                              )   Chapter 11
                                                                    )
CELSIUS NETWORKS LENDING LLC                                        )   Case No. 22-10969 (___)
                                                                    )
                           Debtor.                                  )
                                                                    )
Tax I.D. No. XX-XXXXXXX                                             )
                                                                    )
In re:                                                              )   Chapter 11
                                                                    )
CELSIUS US HOLDING LLC,                                             )   Case No. 22-10971 (___)
                                                                    )
                           Debtor.                                  )
                                                                    )
Tax I.D. No. XX-XXXXXXX                                             )

                 ORDER DIRECTING (I) JOINT ADMINISTRATION OF
            THE CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF

         Upon the motion (the “Motion”)1 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for entry of an order (this “Order”) (a) directing the joint

administration of the Debtors’ chapter 11 cases for procedural purposes only, and (b) granting

related relief, all as more fully set forth in the Motion; and upon the First Day Declarations; and

this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the Southern

District of New York, entered February 1, 2012, and this Court having the power to enter a final

order consistent with Article III of the United States Constitution; and this Court having found


1    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.


                                                         2
    22-10965-mg        Doc 2      Filed 07/13/22 Entered 07/13/22 23:13:53                      Main Document
                                               Pg 13 of 15



that venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C.

§§ 1408 and 1409; and this Court having found that the relief requested in the Motion is in the

best interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court

having found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion

were appropriate under the circumstances and no other notice need be provided; and this Court

having reviewed the Motion and having heard the statements in support of the relief requested

therein at a hearing before this Court (the “Hearing”); and this Court having determined that the

legal and factual bases set forth in the Motion and at the Hearing establish just cause for the

relief granted herein; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

         1.       The Motion is granted as set forth herein.

         2.       The above-captioned chapter 11 cases are consolidated for procedural purposes

only and shall be jointly administered by the Court under Case No. 22-10964 (___).

         3.       The caption of the jointly administered cases should read as follows:

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                )
In re:                                          )  Chapter 11
                                                )
CELSIUS NETWORK LLC, et al.,1                   )  Case No. 22-10964 (___)
                                                )
                              Debtors.          )  (Joint Administration Requested)
                                                )
__________________________________________________
1    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius
     Mining LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius Networks Lending
     LLC (3390); and Celsius US Holding LLC (7956). The location of Debtor Celsius Network LLC’s principal
     place of business and the Debtors’ service address in these chapter 11 cases is 121 River Street, PH05,
     Hoboken, New Jersey 07030.




                                                          3
 22-10965-mg       Doc 2    Filed 07/13/22 Entered 07/13/22 23:13:53             Main Document
                                         Pg 14 of 15



       4.      The foregoing caption satisfies the requirements set forth in section 342(c)(1) of

the Bankruptcy Code.

       5.      A docket entry, substantially similar to the following, shall be entered on the

docket of each of the Debtors’ cases other than Celsius Network LLC to reflect the joint

administration of these chapter 11 cases:

               An order has been entered in accordance with Rule 1015(b) of the
               Federal Rules of Bankruptcy Procedure directing joint
               administration of the chapter 11 cases of: Celsius Network LLC,
               Case No. 22-10964 (___); Celsius KeyFi LLC, Case No. 22-10967
               (___); Celsius Lending LLC, Case No. 22-10970 (___); Celsius
               Mining LLC, Case No. 22-10968 (___); Celsius Network Inc.,
               Case No. 22-10965 (___); Celsius Network Limited,
               Case No. 22-10966 (___); Celsius Networks Lending LLC,
               Case No. 22-10969 (___); and Celsius US Holding LLC,
               Case No. 22-10971 (___). All further pleadings and other
               papers shall be filed in and all further docket entries shall be
               made in Case No. 22-10964 (___).

       6.      The Debtors shall maintain, and the Clerk of the Court shall keep, with the

assistance of the notice and claims agent retained by the Debtors in these chapter 11 cases one

consolidated docket, one file, and one consolidated service list for these chapter 11 cases.

       7.      The Debtors shall file the monthly operating reports required by the Operating

Guidelines and Reporting Requirements for Debtors in Possession and Trustees, issued by the

U.S. Trustee, in accordance with the applicable Instructions for UST Form 11-MOR: Monthly

Operating Report and Supporting Documentation.

       8.      Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these chapter 11 cases and this

Order shall be without prejudice to the rights of the Debtors to seek entry of an order

substantively consolidating their respective cases.




                                                 4
 22-10965-mg       Doc 2    Filed 07/13/22 Entered 07/13/22 23:13:53            Main Document
                                         Pg 15 of 15



       9.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       10.     Notice of the Motion as provided therein shall be deemed good and sufficient

notice of such Motion, and the requirements of the Bankruptcy Code, Bankruptcy Rules, and

Local Rules of this Court are satisfied by such notice.

       11.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

New York, New York
Dated: ____________, 2022

                                                THE HONORABLE [●]
                                                UNITED STATES BANKRUPTCY JUDGE




                                                 5
